983 F.2d 1088
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Evelyn G. DESMARAIS, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 91-3340.
    United States Court of Appeals, Federal Circuit.
    Nov. 20, 1992.
    
      Before MAYER, MICHEL and CLEVENGER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Petitioner, Evelyn G. Desmarais, appeals the final decision of the Merit Systems Protection Board sustaining the Office of Personnel Management's refusal to allow the petitioner to transfer from the Civil Service Retirement System to the Federal Employees Retirement System after the close of the statutory transfer period.   Desmarais v. Office of Personnel Management, No. SF08468910130 (MSPB April 18, 1991).   For the reasons set forth in Barnes, et al. v. Office of Personnel Management, Nos. 91-3371, -3372, -3373, -3374, -3427 (Fed.Cir. Nov. 20, 1992), also decided today, we affirm.
    
    